              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:20-cv-00272-MR


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
     vs.                         )                         ORDER
                                 )
CHEMTRONICS, INC. and            )
NORTHROP GRUMMAN SYSTEMS         )
CORPORATION,                     )
                                 )
                   Defendants.   )
________________________________ )

      THIS MATTER is before the Court on the Defendant Chemtronics,

Inc.’s motion for the admission of attorney Robert D. Fox as counsel pro hac

vice. [Doc. 4]. Upon careful review and consideration, the Court will allow

the motion.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion [Doc. 4]

is ALLOWED, and Robert D. Fox is hereby granted pro hac vice admission

to the bar of this Court, payment of the required admission fee having been

received by the Clerk of this Court.

      IT IS SO ORDERED.         Signed: October 16, 2020




        Case 1:20-cv-00272-MR Document 6 Filed 10/19/20 Page 1 of 1
